IN THE UNITED STATES DISRICT COURT FOR THE
WESTERN DISTRlCT OF PENNSYLVANIA

SCREEN ACTORS GUILD - AMERICAN .
FEDERATION OF TELEVISlON AND RADIO :
ARTISTS, AFL-CIO : Civil Action No. 18-
625 Stanwix Street, Suite 2007 '
Pittsburg, PA 15222,
Plaintiff

V.

SHERIDAN BROADCASTING NETWORKS
715 Ambrose Avenue

Pittsburgh, PA 15232,

n
!

and

SHERIDAN BROADCASTING
CORPORATION

715 Ambrose Avenue

Pittsburgh, PA 15232,

and
RONALD DAVENPORT, JR.
715 Ambrose Avenue
Pittsburgh, PA 15232

and
RONALD DAVENPORT, SR.

5837 Soloway Street
Pittsburgh, PA 15217

Defendants

COMPLAINT

Plaintiff, the Screen Actors Guild, American Federation of Television and Raclio Artists,

AFL-CIO (“Union”), through its undersigned counsel, brings this action, against Sheridan

Broadcasting Networks (“SBS”) and Sheridan Broadcasting Corporation (“SBC”) (collectively
“Employers”) to enforce a labor arbitration award and against the Employer and individual
defendants, Rona|d Davenport Jr. (“.lunior”) and Rona|d Davenport, Sr. (“Senior”) for violations
of the Pennsylvania Wage Payment and Collection Law (“WPCL”), (“WPCL”), Act of July 14,

1961, P. L. 637, §let seq.; 43 P.S. §260.1, erseq..

JURISDICTION AND VENUE
1. 'I`his Court hasjurisdiction over this matter pursuant to Section 301(c) of the Labor-

Management Relations Act of 1947, as amended [“LMRA”], 29 U.S.C. § 185(c), 28

U.S.C. §1331 and 28 U.S.C. §1367.

2. Venue is appropriate pursuant to Section 301 (a) of the LMRA, 29 U.S.C. § 185(a)
and 28 U.S.C. § l391(b).

PARTIES

3. The Union is a non-stock corporation, organized and existing under the laws of the
State of Delaware with an office located at 625 Stanwix Street, Suite 2007,
Pittsburgh, Pennsy|vania 15222. The Union is a labor organization within the
meaning of Section 2(5), of the National Labor Relations Act (“NLRA”), 29 U.S.C. §
152(5), Section 301( ) ofthe LMRA, 29 U.S.C. § 185, and Section 9.1(a) ofthe
Pennsylvania Wage Fayment and Collection Law (“WPCL”), Act of July 14, 1961 , P.
L. 63 7, §9.1; 43 P.S. §260.9a(a).

4. SBN is a corporation organized and existing under the laws of the State of Delaware,
with an agent located at 715 Ambrose Avenue, Pittsburgh, Pennsylvania 15232. SBN

is an employer within the meaning ofSection 2(2), ofthe NLRA, 29 U.S.C. § 152(2),

Section 301( ) of the LMRA, 29 U.S.C. § 185, and Section 2.1 ofthe WPCL 43 P.S.
§260.2a.

. SBC is a corporation organized and existing under the laws of the State of Delaware,
with an agent located at 715 Ambrose Avenue, Pittsburgh, Pennsylvania 15232. SBN
is an employer within the meaning of Section 2(2), ofthe NLRA, 29 U.S.C. § 152(2),
Section 301( ) ofthe LMRA, 29 U.S.C. § 185, and Section 2.1 ofthe WPCL 43 P.S.
§260.2a.

. The defendant Junior is an officer and agent of the Employer within the meaning of
Section 2.1 ofthe WPCL 43 P.S. §260.2a. l-le lives at 715 Ambrose Avenue,
Pittsburgh, Pennsy|vania 15232.

. The defendant Senior is an officer and agent of the Employer within the meaning of
Section 2.l ofthe WPCL 43 P.S. §260.2a. He lives at 5837 Solway Street,

Pittsburgh, Pennsylvania 15217.

FACTS

 

. At all times relevant hereto, SBN and SBC were the alter egos of each other in that
SBC exercised total dominion and control over SBS and SBC at all relevant times
exercised total dominion and control over SBN and that SBN and SBC have so
intermingled their financial affairs and managerial structures that they were the alter

egos of each other and are thus each liable for each other’s obligations

At all times relevant hereto, SBN and SBC functioned in a manner as if they were a
single employer in that their financial affairs and managerial structures are so

intermingled that every act or omission on the part of SBN can be attributed to SBC

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and every act or omission on the part of SBC can be attributed to SBN and that the
Defendants are thus each liable for each other’s obligations

At all times relevant hereto, the Union has represented for purposes of collective
bargaining all regular full-time and part-time newspersons, audio journalists and
producers employed by SBN in the United States.

The Union and SBN have been parties to a collective bargaining agreement (“CBA”),
covering the period of November 8, 2016 through November 7, 2019. (A true and
correct copy of the CBA is attached to this Comp|aint and marked as Exhibit 2.) The

CBA sets forth, inter ulia, the terms and conditions of employment of the employees

of SBN represented by the Union for purposes of collective bargaining

. Pursuant to Schedule l. Sections 7 and l l of the CBA, controversies or disputes

arising out of the interpretation or allegations of breach of the CBA are to be

submitted to a grievance procedure.

lt` a grievance cannot be resolved through the grievance procedure, set forth in the
CBA, the Union is authorized pursuant to Step Two of Schedule 1, Section 7 of the
CBA, to submit the grievance to binding arbitration.

Under the terms of Schedu|e l, Section 7 of the CBA:

The arbitrator shall only have the authority to interpret compliance with the
provisions of this Agreement, and shall not have authority to add to, subtract from or
alter in any way the provisions of this Agreement. 'I`he decision of the arbitrator on

any issue properly before himr`her shall be final and binding upon the Employers, the
Union and the employee or employees involved

. The Union filed a grievance alleging that: (a) on or about August 29, 2017 SBNS

terminated all employees represented by the Union and in so doing (l) failed to give

proper notice of termination as required by Schedule III, Section 10 of the CBA to

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said employees and further failed to pay said employees as required by Schedule III,
Section 10 of the CBA; (2) failed to pay all employees terminated as of August 29,
2017 severance pay as required by Schedule lll, Section 10 of the CBA; and (b) failed
to pay all employees for work they performed between August 16, 2017 and August
29, 2017.

'I`he Union fi.lrther alleged in its grievance that SBN further (a) failed to implement a
3% wage increase effective November 8, 2016 for all employees in a timely fashion
and after implementing the 3% wage increase failed to make the employees whole for
its untimely implementation; (b) failed to pay employees represented by the Union for
out-of-pocket expenses incurred in the performance of their assigned duties; and (c)
failed to remit to the Union dues withheld from the pay checks of employees who
were represented by the Union for purposes of collective bargaining.

Because the grievance was not resolved in the grievance procedure, the Union,
pursuant to the provisions of the CBA, filed a request for an arbitration panel with the
Federal Mediation and Conciliation Service (“FMCS”), such request being docketed
at FMCS Case No. 17-54919.

Dennis Minni, Esquire, was selected by the Union and SBN to serve as arbitrator to
resolve the dispute and a hearing was scheduled for November 20, 2017.

On November 15, 2017, the Union and SBN submitted a series of Exhibits, including
Exhibit A, which constituted a set of fifty one (51) stipulated facts, including, inter
alia, the failure of SBN to pay one employee her clothing allowance and
reimbursement, and the failure to transmit Union dues withheld from the paychecks

of the employees represented by the Union; Exhibit B, which set forth the amount of

pay in lieu of written notice of termination and severance pay owed eleven (1 l)
employees; Exhibit C, which set forth the following: back pay owed ten (10)
employees as a result of SBN’s untimely implementation ofthe November 8, 2016
3% wage increase, pay for ten (10) employees for salary owed during the period of
August 16-31, 2017, and remuneration for six (6) employees for money owed for
certain wraps and voices; and Exhibit D, which totaled all monies owed. (True and
correct copies of Exhibits A, B, C and D are attached hereto and marked as Exhibit
2.)

20. On November 20, 2017, the Union and SBN appeared before the arbitrator and
stipulated that the grievance was properly before the arbitrator. The parties relied on
the exhibits previously submitted, as described in Paragraph 15 of the Comp|aint. At
the hearing, SBN stipulated to its liability.

_ . On February 2, 2018, the arbitrator issued his Opinion and Award (“Award”) in
which he granted the relief sought by the Union. (A true and correct copy of the
Award is attached hereto and marked as Exhibit 3).

22. A copy of the Award was served upon SBN on February 8, 2018.

23. Notwithstanding the issuance of the Award and demand for payment by PIaintiff, the
Employers have failed and refused to comply with the terms thereof nor have the

Employers filed a complaint to vacate the terms of the Award.

COUNT l -§BEACH OF CONTRACT FOR FAILURE TO COMPLY WITH A LABOR
ARBITRATION AWARD

24. Paragraphs 1 through 23 of the Comp|aint are re-alleged as if fully set forth herein.

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Under the terms of the CBA, the Award is final and binding
The Award is rationally derived from the CBA and draws its essence therefrom.

The failure of the Employers to comply with the Award is a breach of the CBA.

COUNT ll - VIOLATION OF THE WPCL

. Paragraphs 1 through 27 of the Complaint are re-alleged as if fully set forth herein.

. The monies owed to the various employees of the defendant Employers as set forth in

Exhibit 2 of this Complaint are wages within the meaning of the WPCL.

The employees of the defendant Employers as set forth in Exhibit 2 of this Complaint

are represented by the plaintiff Union.

. The defendant Employers failed to pay the employees the wages owed these

employees as set forth in Exhibit 2 of this Comp|aint.

. At all times relevant hereto, Senior and Junior are agents and officers of defendants

SBS and SBC with the authority and responsibility to pay employee wages.
COUNT lll~ CONVERSION
Paragraphs 1 through 32 of the Complaint are re-alleged as if fully set forth herein.
At all times relevant defendants were interfering with and depriving the Union’s right
of, andfor use of, the by unlawfully withholding Union dues of the employees of the

Employers represented by the plaintiff Union without tendering those dues to the

Union.

. The plaintiff Union has demanded that defendants release the Union dues.

Defendants at all times relevant failed to comply with the plaintiff Union’s legal and

justified demands

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In so doing, defendants interfered with the Union’s’ right to employees’ Union dues
that the defendants withheld from employee wages. Defendants thus breached their
fiduciary obligation to plaintiffs by these improper and illegal acts.

At all relevant times defendants’ actions were done without the plaintiff Union’s

consent.

At all relevant times defendants were without any lawful justification for their actions.

Defendants’ actions were both malicious and willful.

Wl-IEREFORE, the Plaintiff Union hereby seeks:

(1) An entry of an order requiring the defendant Employers comply in each and every
respect with the February 2, 2018 Award;

(2) Enterjudgment for the Union and against the defendant Employers in the amount
of $325,827.64, composed of $36,343.29 in wages to be paid in lieu of notice of
termination to employees represented by the plaintiff Union, $170,685.12 in
severance pay owed employees represented by the plaintiff Union, $2,812.38 in
unpaid wages owed employees represented by the plaintiff Union attributable to the
November 8, 2016 3% wage increase, $18,829 in wages owed employees
represented by the plaintiff Union for the period of August 16 through 31, 2017 and
for wraps and voices produced during the month of August, 2017, $9,088.39 for
clothing allowance, mileage and expenses incurred by employees of the defendant
Employers incurred during the course of employment, $2,293.09 for Union dues
withheld from the wages of employees represented by the Union pursuant to valid

dues check off authorizations but never transmitted to the plaintiff Union, and

liquidated damages of 25% of wages owed, pursuant to the WPCL, in the amount
of $65,165,53;
(3) Punitive damages in the amount of $250,000.00 for the breach of the defendants’

fiduciary duties;
(4) Reasonable attomey’s fees and costs; and
(5) Any other relief that this Honorab|e Court shall order.
Respectfully submitted,

MARKOWITZ & RIC

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Dated: April 6, 2018

EXHIBIT 1

AGREEMEN'I‘

BETWEEN

sAG-AFI'RA
(AFL.cxo)
AND

SI-[ERIDAN BROADCASTING
NETWORKS

November 8, 2016 - November '7, 2019

2016-2019

MGAHRHPERDAN BROADCASTING NETWORKS AGREEMENT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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'I'ablc of Contcnts

SCHEDULE l ....... .1
SECTION 1. SCOPE OF AGR.E`.EMENT ....1
SECTION 2. WARRANTY AND RECOGNITION 1
SECI'ION 3. UNION ME`.MBERSH[P 1
SECTION 4. MANAGEN[ENT RIGH'I'S 7
SECTION 5. ADMISSION TO PREMISES 7
SECTION 6. SHOP S'I'.EW.A.RD 7
SECTION 7. GRIEVA.NCES §
SECTION B. NO S'I'RIKIE CLAUSE 2
SECTION 9. M[NIIVIUM T.ERMS AND (.`.ON`DI'I'IONq 3
SECTION 10. DEDUCTIONS ...... 4
SECTION 1 1. A.R.BITRATIONS 4
SECTION 12. NO DISCRIMINATION l;
SECTION 13. COMPLIANCE WITH LAW l;
SEC'I'ION 14. AFIRA HE.AL'IH AND RET]REMENI` ¢;
SEC'I'ION 15. SUBSTANCE ABUSE POLICY §

SCHEDULE II - STAFP SALARIES AND DUTIES .5
SEC'I'ION 1. 5
SEC'I'ION ?.. NDNIM.'UM BASE SALAR.Y 7
SECTION 3. NON-BROADCAST DUTIES Q
SECTION 4. FREELANCE EMPLOYEES AND STRlNGERS: 9
SECTION 5. PART-TIME ¢l

SCHEDULE m - WOR.KING CONDITION°\ 10
SECTION 1. WORK. WE.EK.AND WORK D.AY 10
SECTION 2. DAY`S OPF 11
SECI'ION 3. EXPENSES AND 'IR.AVEL 11
SEC'I'ION 4. MEALS . 11
SECTION 5. RE$T BE'I'WEEN STA.FF STRETCHES ....... 11
SECTION 6. NOTICE OF STAFF STR.ETCH. 11
SECTION 7. OFF-PREMSBS WORK ...... 11
SECTION B. VACATIONS 12
SECTION 9.

..... 12

SECTION 10.
SECTION 11.

TERM]NATION AND SEVERANCE PAY

COMBAT ZONE PAY

 

 

 

 

 

 

 

 

 

 

 

 

SECTION 12. NEWS PROGR.AMS AND INSER.'I‘S MADE AVAU..ABLE TO OTH.ER
NE’I'WOR.KS AN'D ST.ATIONS
SECTION 13. RE.LOCATION EXPENSFS
SEC'I‘ION 14. NON-WAIV'ER. OF RIGHTS
SE.CTION 15. TERM OF AGR.EEMBNT ......
SECTION 16. OU'I`SIDE EMPLOYMIE.NT ......
SEC'I'ION 17. NAMIE OF AGREEMENT
Sideletter #l ...........
Sidelettc.r #2
Sidelerter #3
Sidel:ttcr #4
Sidelel:ter #5

 

Appendix A

 

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13

14

14
14
15
15
15
15
17
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SAG-AFI'RA -SHERIDAN BROADCASTING N.ETWORKS

Agreement as of November 8, 2016, between SAG-A.FTRA, a non-stock corporation,
organized and existing under the laws of the State of Delaware and having its principal offices at
5757 Wilshire Blvd., Los A.ngeles, CA, 90036, party of the Erst part (here.inafter called “ S.AG-
AF'I'RA”) and SHERIDAN BROADCASTING N'ETWORKS, a corporation organized and
existing under the laws of the State of Delaware and having its principal office at 960 Penn Avenue,
Pittsburgh, PA, 15222, party of the second part (hcreinafter called “the Company” or “SBN”). l'n
consideration of the covenants and agreements herein contained, it is agreed as follows:

SCHEDUI..E I

SECTION ‘L SCOPE OP AGREEMENT
This Agreement shall apply to all regular full-time and regular part-time newspcrsons,
audio journalism and producers(hereinafter “covcred employees”) employed by the
Company at its principal ofEces in Pittsburgh, Pennsylvania audits office in
Washington, D.C., or any successor location thereof, when they are performing at
any location within the United States. This Agreement shall apply to any covered

employee sent from the United States to any foreign location for a period of one (1)
year or less.

All covered employees shall carry forward into this connact, for all purposes, their

length of service attained under previous agreemenm between the Company and
S.AG-AF'I'RA.

The term “newspersoos" shall refer to all on~air perfonners, whether performing on
news programs or other programs, such as entertainment or ports.

SECTION 2. WA.R.R.ANTY AND RECOGNITION
(a) AFI'RA wammts, represents and agrees that it represents, for collective
bargaining purposes, all covered employees employed by the Company.

(b) The Company hereby and without prejudice to the foregoing recognizes
SAG-.A.FI'R.A as the exclusive collective bargaining agent for all covered
employees employed by the Company, subject to provisions of Section 9(a}
of the Nationa.l Labor Relations Act., as amended.

SECTION 3. U`NION MEMBERSHIP
SAG-AFI'R.A agrees that it will accept as a member of SAG-AFI'RA any persons
the Company wishes to employ as a regular full-time and regular part-time
newsperson, audio journalist or producer, except persons not eligible for
membership under the Union’s Constitution(s), By-Laws, or Rules. SAG-.APTRA
further agrees that it will not impose unreasonable entrance fees, dues assessments,
or other requirements The Company will deduct union dues from

an employee’s paycheck as long as the union presents to the Company a current dues
check-off card signed and authorized by the employee

Except as provided in the Section, the right of a person to work for the Employer

shall not be denied or abridged on account of membership or non-membership in
any other labor union of labor organization

During the term of this Agreement the Company will, at locations where bargaining
unit work under this Agreement is performed, employ and maintain in its
employment only such regular full-time and regular part-time newspersons, audio
journalists and producers covered by this Agreement as are members of SAG-
AFI`R.A in good standing, or who shall make application for membership on or after
the thirtieth {30"‘) day following their date of hire or the radiication of this
Agreement, whichever occurs later, and who shall thereafter maintain such
membership in good standing as a condition of continued employment

SECTION 4. MANAGEMENT R.IGHTS
The Company retains the sole right to manage its business, including but not limited
102

(a) The right to decide the number and location of places where the Company
conducts its business, the equipment, the methods, and the schedules;

(b) The right to maintain order and efficiency in its operations, to hire
employees, layoff employees, assign employees, transfer employees, promote
employees, create new positions, and assign work to employees;

(c) The right to determine the starting and quitting time and the number of
hours to be worked;

(d) The light to implement reasonable rules and regulations, subject to the

grievance and arbitration procedure regarding the reasonableness of said
rules and/or regulations; and

(e) All other rights and prerogatives, subject only to such restrictions governing
the exercise of these rights as are provided in this Agreement.

SECTION 5. ADM]SSION TO PREMISES
Any ofEcet or other duly authorized representative of SAG-AFTRA shall be
admitted to the premises for the Company at any reasonable time for the purpose of
determining the maintenance of wages and working conditions hereunder; provided
that such officer or representative shall give the Company reasonable advance notice
of his/ her visit shall exhibit satisEactory evidence of his/ her of&ce and authority,

and shall not interfere with the conduct of the Company’s business. Any person so
admitted shall comply with all the miles and regulations of the Company while on its

premises. Not more than two such persons shall be entitled to admission at the
same time.

SECTION 6. SHOP STEWARD

The Company agrees that SAG-A.FI'R.A shall have the right to appoint, or the
covered employees at the company shall elect, a Shop Steward from among the

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SAG-AFTR.A members employed by the Company, and such steward shall be
recognized by the Company as SAG-AFI'RA's employee representative The Shop
Steward shall have no authority to settle disputes or interpret the .Agreement but

shall report to SAG-AFI'RA all matters brought to his or her attention relating to
the application of the conmict.

SECTION 'l. GRIEVANCES
Grievances will be resolved in accordance with the procedure described in Paragraph
1 1 hereof.

SECTION 8. NO STRIKE`. CLAUSE

SAG-AF'I'RA agrees that, during the term of this Conmact, covered employees will
not engage in any strike, work slowdown, picketing, boycott or other work stoppage
against the Company. The Company agrees, however, that in the event SAG-
AFI'RA is striking on behalf of the newspersons, audio-journalists or producers at ta
station serviced by the Company, the Company will not, without the prior consent of
SAG-.AFI'R.A, require covered employees hereunder to render services on programs
for that station in excess of the number of programs usually provided to it.

SAG-AFI'R.A further agrees that no covered employee shall refuse to cross a picket
line set up by any union, group of unions or their members at, around or in the

Company's premises, unless the covered employee has been threatened with harm if
s/ he crosses the picket line.

In the event that covered employees violate this provision of the collective

bargaining Agreement', the Company may, at its option, terminate this contract upon
written notice to SAG-AFI`R.A.

The Company similarly agrees that it shall not lock out covered employees during the
term of this Agreement.

SECTION 9. MINIMUM TERMS AND CON'DITIONS
The Company agrees that this Agreement sets forth the minimum teams and
conditions which cover the employment of covered employees. The Company
agrees that it will make no contract with any covered employee on terms less
favorable no such covered employee than those contained in this Agreement and
make no changes or alterations of these provisions without the written consent of
SAG-AFI'R.A, nor, without such consent, shall any covered employee be deemed
engaged upon terms which would commit such covered employee to perform any
services after this Agreement expires or is terminated which would violate any rule of
SAG-.AFI'R.A. lssuance of, or compliance with, such SAG~AFI'RA rule shall not
subject SAG-.AFI'R.A or S.AG-AFI'R.A members to any liability. 'I'he company
agrees that no waiver by any covered employee of any provisions contained in this
Agreement shall be sought by the Company from the covered employee or be
eH`ective unless written consent of SAG-AF'I'R.A to such waiver is first had and
obtained, and the Company further agrees that nothing in this Agreement shall be
deemed to prevent any covered employee from negotiating for or obtaining better
terms than the minimum terms provided in this Agreement. The Company further

3

agrees, for the beneEt of SAG-AFI'RA and covered employees employed by the
Company, that existing contracts with all covered employees are hereby modified in
accordance herewith, but no tenns, wages or hours in such existing contracts which

are more favorable to the covered employee than those herein speeiEed shall be
deemed so modiEed.

SECTION 10. DEDUCTIONS
No deductions, directly or indirectly, by way of commission or otherwise may be
made by which any covered employee shall receive less than the minimums

established by this Agreernent, such minimums being net to the covered employee,
except for withholdings or deductions which are permitted by law.

SECTION 11. ARBITRATIONS
MEE§M The Union stewards may request a meeting with

Company managers at the quarterly meetings held by Company managers in order to
discuss issues involving the bargaining unit

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In the event there should be any controversy or dispute arising out of the
interpretation or alleged breach of this Contract between S.AG-AFI'RA and the
Company, the parties agree to promptly and in good Eaitb attempt to settle such
dispute amicably. In the event they are unable to do so, any such controversy or
dispute shall be handled according to the following procedure

St£p Ong. The Union shall submit the grievance to Management of the
Company, in writiug, within Efteen (15) working days of the date the Union knew or
should have known of the action(s) giving rise to said grievance The parties shall
attempt to resolve the issue as quickly as possible

§Lgp_ ng. If the grievance is not settled at Step One, the Union may submit the
grievance to arbitration within thirty (30) days after the Step One meeting by Eling a
request for a panel from the Federal Mediation and Conciliation Scrvice. Upon
receipt of the panel, each party shall have the right to strike one (1) name until only
one arbitrator remains on the list, who shall hear and decide the case.

The time limitations set forth above in Steps One and 'I`wo of this procedure may be

extended only by the express mutual agreement between the Company and the
Union.

The arbitrator shall only have the authority to interpret compliance with the
provisions of this Agreement, and shall not have authority to add to, subtract from
or alter in any way the provisions of this Agreement. The decision of the arbitrator
on any issue properly before him/her shall be Enal and binding upon the Company,
the Union and the employee or employees involved The cost of arbitration,

including the salary and expense incident to the services of the arbitmtor, shall be
shared equally by both parties.

SECTION 12. NO DISCR.IMIINATION
The Company and SAG-AFI'RA shall comply with all applicable federal, state local
and-discrimination laws.

The Company and SAGAFIRA further agree not to discriminate against any
covered employee because of any claim made by such a person or submitted to
arbitration by him/her through SAG-AFI'RA as herein provided, respecting the
performance of this Agreement by the Company.

SEC'I'ION 13. COMPLIANCE WITH LAW
If there are any provisions of the Nat:ional labor Relation Act, as amended, which
are in conflict with this Agreement, such conflicting provisions of this .Agreemslt
shall be deemed modified so as to conform to the provisions of said Act.

SECTION 14. A.FTR.A HEALTH AN'D RETIR.EMENT
The Company shall pay the American Federation of Television and R.adio Artists
Health and Retirement Funds a sum equal to 10.5% of the gross compensation of
each employee payable on a monthly basis (10.75% effective November 8, 2018).

SECTION 15. SUBSTANCE A.BUSE POLICY
(See Appendix “A”).

SCHEDULE II - STA.FP SALARIES AND DUTIES

SECTION 1.
A. EKQLHSHE_SIAE'_MIE_S

Nen'.y‘.»cmn.r
Gatheiing, prepa.ting, reporting, editing and writing news for over the air
broadcasts and for transmission and/ or recording for the Internet.
Performing announcements, both commercial and non-commercial

Perfomiing those duties consonant with similar duties pecfomied by radio
journalists and announcer.

S_e:nnEleuti_¢s;

On a sporadic and occasional basis to till the Company’s need to unforeseen
operating exigencies, Newspersons may perfomi the following dutiss:

The operation of equipment in conducting interviews

Cutting audio and operating the board, in the absence of an audio journalist

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Editiog news audio tape; off air interviewing; writing and editing news copy
for over the air broadcast and for transmission and/ or recording for the
Internet; and voicing and videotaping material for the Internet.

Contacting network af&iiates and news sources.

Initiating and covering stories.

Operation News Line (operation of off line news down and up links).
Producing, writing and narroweasting closed circuit feeds to affiliates
Collecting information and actuality material for broadcast

Assisting newspersons in the preparation of network materials for broadcast

'es:
On a sporadic and occasional basis to fill the Company’s need for unforeseen
operating exigendes, Audio journalists may perfon:n the following duties:

Broadcast duties as may be assigned from time to time by the Company,
subject to all of the provisions of this Agreement.

Prvdum
P_dmnzw;
Prepare the news desks for Anchors and Audio ]ournalists to broadcast over

the air and to transmit and/or record for the Intemet (including, but not
limited to, blogs and podeasts).

Research, identify and contact daily newsmakers and event participants to
schedule and/or conduct interviews

Contact stringers and bureau desks to schedule coverage and interviews
Open and distribute all incoming mail for newsroom.

Work on “special projects” when assigned by News Director.

Submit programming ideas to News Di.tector.

Research, compile, produce and distribute network’s morning radio news
prep sheet (the “Show Props”).

Perform administrative tasks and other tasks related to preparation and

delivery of news programs as assigned by the news director. The Company
retains the discretion to Ell or not to Ell the producer position, and to change

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sacrloN 2.
(a)

the producer’s duties, subject to the provisions of Sections 2, 3 and 4 of this

Schedule II. However, maintenance or engineering duties will not be
required.

WE§QBYJLQBK

When a covered employee is assigned secondary duties, as permitted above,
he or she will be paid at the higher category rate of pay for any hour in which
said duties are performed. No covered employee will be paid less than

his /her category rate of pay for out-of-category work,

No employee will be assigned to more than one category of work at one
time. .'E’.xcept for bona Ede news emergencies, covered employees

perfon:ning work as newspersons shall not be required to simultaneously
operate the board.

It is understood and agreed that the news programs require adequate
preparation time, including the time spent in gathen°ng, writing and editing
news stoties. It is understood that any newsperson corning on duty before
8:00 a.m. shall have one (1) hour preparation time. It is understood that any

newsperson coming on duty after 8:00 a.am shall have forty five (45) minutes
preparation time.

When out-of-category work increases an employee’s workload to the point
where s/he is unable to utilize the required preparation time, the employee
shall be paid time and one half for that applicable one (1) hour or forty-five
(45) minute period. An employee’s workload is increased iI:`, as a result of
out-of-category work, s/he has not had at least forty-five (45) minutes (one
(1) hour before 8:00 a.m.) of preparation time during the sixty (60) minutes
preceding each newscast s/he broadcasts. SBN reserves the n'ght, however,
to negotiate any such extra amount into the individual’s compensation, so
long as such compensation exceeds the minimum set forth in the collective
bargaining agreement (See Sideletter #5)

An employee whose out of category work exceeds 50% of his/ her total
hours worked during any three consecutive calendar months shall be deemed

to have been promoned to the higher eategory, unless the higher category
work was performed while working as a temporary replacement for an
employee off work on temporary leave of absence.

OTHER DUTIES. From time to time, an employee may be asked or
required to perform a duty that is outside his/ her regular work function. 'I`he

Company agrees to keep such instances to a minimum and will work to avoid
any extreme situations.

MIN'IMUM BASE SALARY

The Company agrees to provide all covered employees a 3% increase each
year of the contract with the effective date of the Agreernent. ln order to be
eligible for the 3% increase, the employee must have at least one full year of

7

(b)

(d)
(c)

service with the Company as of the effective date of the Agreement. If the
employee does not have at least one full year of service by the effective date
of the Agreement, then the employee must wait until his/ her first anniversary
date to receive his/ her 3% raise for that first year. Thereafter, the employee

will receive 3% raises on second and third anniversary dates of the effective
date of the Agreement.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. EEective EH`ecnve' EEective
Yeam of Service
Nov. 8, 2016 Nuv. 8, 2017 Nov. 8, 2018
Newspersons
1 $49,068 $50,540 $52,056
2 $50,513 552,029 $53,590
3 $51,934 $53,492 $55,096
4 $52,0?2 553,583 $55,190
5 $54,800 $56,444 $58,137
10 $64,827 $66,772 $68,7'75
Audio ]ouma]ists
1 $28,009 $28,849 $29,715
2 $28,724 $29,585 $30,473
3 $29,442 $30,325 $31,235
Producers
1 $37,678 $38,809 $39,973
2 $39,111 $40,284 $41,493
3 $40,284 $41,493 $42,‘738

 

 

 

 

Annual three percent (3%) increases shall also apply to fees for voicers,
wraps, and television news inserts.

Notwithstanding the foregoing, the Company shall have the light to hire
newspersons for a three (3) consecutive month probationary period, closing
which time they will receive eighty (80%) of the appropriate starting rate set
forth in subparagraph (a), above.

The probationary rate for Audio journalists shall be 90% of the full rate.

Television news inserts will be compensated at a level of $21 .90 per hour
with a daily cap of $65.00. These news insects/ service exclude Intemet
transmissions and recordings and are basically televised images and sounds of
normal SBN radio programming and will not be produced exclusively for
television. .Also, the news services at this rate can appear only on a single 'I'V

8

 

SECTION 3.

station or network, unless otherwise approved by management Television
news inserts can be provided for the Company’s Internet activities at no

additional cost as long as such inserts are not produced exclusively for
television

NON-BROA.DCAST DUTIES

When a covered employee hereunder perfom:\s non-broadcast duties for the
Company other than those speciiied herein or normally performed by newspersons,
audio ioumalists or producers, the compensation for such extra duties shall be
subject to individual negotiations with the Company except as otherwise provided
regarding the Company’s lnternet activities including, but not limited to, blogs and
podcasts.

sEcrIoN 4.
(a)

(b)

(C)

SECTION 5.

FREELANCE EMPLOYEES AN'D STR.INGERS:
Freelance employees are those who perform work for the Company
described in Schedule II Section 1. A., but on other than a regular hourly
basis, such as per progmm or per event. Free]a.nce employees shall be paid at
an hourly rate that is not less than the straight time hourly rate paid to first
year regular part-time cmployees, or a fee equal to four {4) hours pay at that
same hourly rate, whichever is greater. Freelance employees will not be
covered by any other provisions of the Agreernent unless or until they work
greater than twenty-six (26) weeks in any calendar year. Thereafter, they shall
be covered by Schedule I, Section 3, Union Membership and Schedule I,
Section 14, AF’I'R.A Health and Retirement, but they shall not be covered by
any other provision of the Agreement.

In no event shall this Agreement be construed as being applicable to

independent contractors or stringers (for the purpose of this .Agreement,
stringers shall be defined as individuals who, as independent contractors,

fumish services on news stories on a per story or other fixed charge basis) or
to employees of ai§liates.

§_Qmmet_‘cia;;_l§ - Commercia.ls will not be produced by the Company without
an agreement with the Union on compensation for covered employees,
provided that the Company is always free to produce commercials for its
own air at the employee’s regular hourly rate.

PART-TILIE

The Company may employ part-time newspersons, audio journalists and producers
under the following terms and conditions:

(a)

cb)

Part-time newspersons, audio journalists and producers may be employed
not less than a minimum of four (4) hours on any work day;

Part-time newspersons, audio journalists and producers shall be entitled to all
right of a full-time covered employee under this contract provided, however,
as to sick leave, vacation, and termination severance beneEts, he/ she shall be

entitled only to such rights in the same proportion that his/her actual average
hourly employment per week bears to forty (40) hours per week; and

(c) Part-time newspersons, audio journalists and producers shall not be
employed in such a manner as to obviate the employment of a full-time
newsperson, audio ioumalist or producer.

SCHEDULE III - WORK[NG CON'DITIONS

SECTION 1. WORK WEEK AN'.D WOR.K DAY
The regular work week of full-time covered employees shall consist of not more than
forty (40) hours in live (5) consecutive days including broadcasts and Internet
activities (mcluding, but not limited to, blogs and podmsts) and adequate preparation
time, and time spent traveling to and from studio to any assignment (exclusive of
traveling to and from the individual’s home and the studio). All hours worked in
excess of eight (8) consecutive hours in one day or
forty (40) hours in any given week shall be paid at time and one-half (1 1/2) the
applicable hourly rate of the covered employee Overtime shall not be pyramided.
All work covered under this Agreement, or any other Agreement between the

parties, for any subdivision of Sheridan Broadcasting Corporation, shall be included
i.n the work week of a covered employee

Newspersons working within the peliod 12 midnight to 6 AM shall receive, in
addition to their weekly sala.ry, additional compensation often {10) per cent of the
regular hourly rate of pay for the hours worked in such a period.

Newspersons working as on-air news anchors may leave the premises after the last
assigned ncwscast, as has been past practice, except in case of emergency.

Newspersons working as a sport-exclusive employee may be waived from the
provisions of the eight (8) consecutive hour work day and, may be assigned a split
shift complising eight (8) hours for sport duties only. Assignments shall not be in
excess of two (2) four-hour shifts per work day (such as 6A.M - IOAM and 2PM -
GPM, etc.). Bach shift shall include a Efty (50) minute preparation period at the start
of the shift All hours in excess of four (4) hours on any shift or eight (8) hours in
any work day shall be deemed consecutive to the nearest such shift and shall be
compensated on the basis of time and one~half.

Where such sports-exclusive employee does not work a split shift, all hours in excess
of eight (8) consecutive hours shall be compensated on the basis of time and a half.

Notwithstanding the foregoing, any work performed by any employee in excess of
forty (40) hours must be approved in advance by employee’s Company supervisor,
including work directly or indirectly related to the Company’s Inoemet activities
(including, but not limited to, blogs and podcasts).

19

SECTION 2. DAXS_QE
A covered employee who is called in to work on either of his/her days off during a
week shall be entitled to payment at the rate of time and one-half his/ her applicable

rate for Eve and one-half (5 1/2) hours or for the hours actually worked, whichever
is greater.

SECTION 3. EXPENSES AN'D TRAVEL
Covered employees shall be reimbursed for all reasonable and authorized out-of-
pocket expenses incurred i.n the performance of their assigned duties.

Air travel shall be in accordance with the Company’s prevailing policy for
management personnel

On each occasion when the covered employee, with the consent of the Company,
uses his/her car in connection with traveling outside the locality, with the knowledge
and consent of the Company, s/he shall be reimbursed at a mileage rate consistent
with company policy for such business purposes.

SECTION 4. MEA.'LS

Newspersons shall have the right to eat on the job, away from the ncwsroom and/or
out of the building, as long as their ncwscasts are covered. Ptoducers and

audio journalists shall have the right to eat on the job, but may leave the premises
only when a backup audio journalist or other suitable production person is available
Breaks and leaving the premises shall be with the consent of the senior management
person present or, in his/ her absence, with the consent of the anchor newsperson.
Producers and audio journalists may Ell in for one another under those
circumstances with no effect on wage rates for either employee

SECTION 5. REST BETWEEN STAFP S'I'RETCHES
No staff assignment shall begin sooner than eleven (1`1) hours after the conclusion of
the employee’s last staff assignment on the preceding day. Where a covered
employee is required to work during this eleven (11) hour petiod, overtime at the
rate of time and one-half (1 1/2) shall be paid to him/ her for all hours worked
within that eleven (11) hour period.

SECTION 6. NO'I'ICE OF STAFF STRETCH
At least Eve (5) days’ notice must be given to covered employees of any changes to
the start or end of their staff stretch, except where the change is due to an emergency
or other unforeseen circumstance If such notice is not given, the affected -ployee

shall be paid at the rate of time and one-half (1 1/2) the applicable rate for all hours
worked in violation of this paragraph.

SECTION 7. OFF-PREMISES WORK
If an artist, for their own convenience decides to do an approved amount of
Intemet work off premises, such time is compensable but will not be subject to the
minimum call, rest period, or schedule change provisions Such work is at the artist’s
discretion and shall not be assigned by the company.

11

If no artist is available to post linished content to the Internet, the Company may use
an employee not covered under this Agreement to post said content The Company
agrees that it shall not assign an employee not covered by the Agreement to perform
any other Intemet work covered under this Agreement and shall not assign non-

barga.ining unit employees to post content to the Intemet in a manner that would
obviate the employment of any covered employee

SECTION 8. VACATIONS

Employees shall accrue vacation during the year prior to which it is taken. ON their
anniversary dates of hire, the employees shall earn and have available to them the

following vacation:
Complete Years Of Weelcs of
Service On Vacation
warran v le
One through Four Two Weeks
Five through Nine Three Weeks
Ten or More Four Weeks

All employees shall also be entitled to an additional week plus four days of vacation

in lieu of holidays These vacation days must be taken during the anniversary year in
which they become available

Vacation not taken dun`ng the year it is available may only be carded over into the

following year if the employee’s request to use such time has been denied by the
Company.

Employee vacation requests for April through September of uch calendar year shall
be made no later than March 15. Requests for October through March should be
made no later than September 15. Timely vacation requests will not be denied
provided that the Company is able to schedule adequate staffing and can otherwise
meet its business needs. Conflicts among timely requests which would

affect the Company’s ability to schedule adequate staff will be resolved by senionty.

Vacation requests that are not submitted in a timely manner will be considered only
after all timely requests have been considered Untimely requests may be granted
provided that the Company is able to schedule adequate staffing and can otherwise
meet its business needs. Conflicts among untimely requests will be resolved at the
discretion of the Company based on reasonable business reasons.

SECTION 9. SICK LEAVE/PERSONA.L LEA`VE/BEREAVEMENT
LEAV'E
Each newsperson, audio joumalist and producer shall be credited with ten (10) days
of sick leave on ]anuary l of each year. Any newsperson, audio journalist or
producer hired after]anuary 1 of the current year shall accrue one (1) day’s paid sick
leave for each full month of work during the remainder of the year, not to exceed a
total of ten (10) days for that year.

12

A newsperson, audio journalist or producer who is hospitalized or conEned to the
home a.s a result of a serious illness or accident shall be extended an additional ten
(10) days paid sick leave per year upon receipt by the Company of an appropn'ate
physician’s certi£cation.

The Company may require a physician’s verification of illness where such illness or
injury results in the employee missing three or more days of work, or where the sick
days being used by the employee form a recurring pattern.

Sick leave cannot be accrued and accumulated from year to year. Moreover, if an
employee leaves the employment of the Company, s/he shall forfeit all right to
further time off or pay in lieu of time off based upon any accumulated sick leave.

Two (2) accrued sick days per year may be used as personal time off for legitimate
business reasons. Prior approval of the Company must be obtained before taking
those days. Such approval shall not be unreasonably denied.

An employee may designate as "bereavement leave” up to three (3) days of paid sick
leave per calendar year and may take such leave in increments of not less than a full
day. If the employee is out of paid sick leave, s/he may use paid vacation in
increments of not less than a full day. If an employee needing to take time off due to
bereavement is out of paid sick leave and paid vacation, s/ he may

take off without pay up to three (3) days in increments of not less than a day. Under
this Section, bereavement leave shall be used in the event of death of an immediate
family member (i.e., employee’s parent, sibling, child, or spouse and employee’s
spouse’s parent, sibling, child, or near relative).

sEc'rloN 10. TERMINATION AND sEvERANcE PAY
(a) 'I"E.RMmATION=

Covered employees shall receive written notice of termination or pay in lieu
of notice in the event his / her employment is terminated as follows:

Wn'ttenNoticeor
:: f . 2 . I. fn .c
0-3 2Weeks
4._5 SWeeks
Gandchereafter 4Weeks

Provided, however, that termination for gross insubordination, gross
misconduct or violation of the Substance Abuse Policy shall be cause for
immediate termination without notice or pay in lieu of notice.

13

(b) sEvERANcB PAY=

Covered employees tenninated shall receive severance pay as follows:

Y f 'ce wiley

0-3 lweekforeachyear
4-5 1 l/2weeks foreachyear
6 and thereaftrr 2 weeks for each year

'I'he maximum amount of accruable severance pay shall be twenty-six (26)
weeks. Provided, however, that termination for gross insubordination, gross
misconduct, or violation of the Substa.nce Abuse Polir.y shall be cause for
immediate termination without severance pay.

(c) PROB.ATIONA.R.Y EMPLOYEES:

Notwithstanding the foregoing, in the event of termination, probationary
employees shall be entitled to forty-eight (48) hours' notice and one (1)
week’s pay provided they liil.till the qualifications for such notice of pay
contained in paragraph (a) hereof.

(d) .A tenninated employee shall receive accrued and earned vacation pay.

SECTION 11. COMBA'I' ZONE PAY

A covered employee sent by the Company on an assignment covered hereunder to
an o£Ecia]ly recognized combat zone shall be paid an additional $100.00 for each
such week, which sum shall be in addition to his or her normal compensation

Provided, however, each such assignment to a combat zone shall be subject to terms
and conditions negotiated between the Company and the covered employee, but not
less than the increment specified in the above paragraph

SECTION 12. NEWS PROGR.AMS AND INSERTS MADE AVAILABLE TO
O'I'HER. NETWORKS AND STATIONS

If a covered employee obtains a news story or insert on which his or her voice is
hears, and the Company decides to make the news story or insert available, for a fee,
to another network or non-afiiliate, the Company must pay the employee a fee equal
to or greater than one (1) hour of pay at the employee’s regular hourly rate. No fee
shall be paid for news stories or inserts made available by the Company, ar no
charge, to another network or affiliate In addition, no fee or charge shall be paid for
news stories or inserts made available by the Company omits website or made
available by the Company for websites not owned by the Company.

SECTION 13. RELOCATION EXPENSES
.A covered employee who is relocated by the Company shall be reimbursed for
his / her relocation expenses, as negotiated with the individual The resulting

14

agreement will be submitted to the Union for review, and the Company’s decision
shall be subject to the glievance-arbit:ration procedure of this Agreement. Relocation
expenses are defined as the moving of furniture and household goods.

SECTION 14. NON-WAIVER OF RIGH'I‘S
The acceptance by a covered employee for any work or services under this
Agreement of payment or other consideration in moneys by check or in any other
fonn, shall not be deemed a waiver by such covered employee, and shall not
constitute a release or discharge by him/ her of such covered employee’s rights either
under this Agreement or under any agreement subject to this Agrecment for
additional compensation or of his/her contractual rights. R.eleases, discharges,
notation on checks, cancellations, etc., and similar devices which may operate as
waivers or releases shall be null and void to the extent provided for above unless
.A.FI'RA’s prior written approval is first had and obtained

SECTION 15. TERM OF AGREEMEN'I'
This Agreement shall be effective November 8, 2016 for a term of three (3) years.
Beginning at least sixty (60) days prior to the expiration hereof, S.AG~AFI`RA and
the Company will begin negotiations in good faith with respect to a new contract

SECTION 16. OUTSIDE EMPLOYMENT
No employee in the unit affected by this Agreement may perform work, paid or
unpaid, for any electronic or news medium (including an Intemet website or Intemet
news medium), or take a job with any other employer without the Company’s prior
written permission lt is agreed that permission shall
not be unreasonably denied by the Company. Permission may be withdrawn upon
two (2) weeks' notice where the Company determines, after discussion with the
employee involved and SAG~AFI'RA, that the work interferes with the employee’s
work for the Company or the Company’s business Additional time may be granted
when necessary for the employee to divest him/ herself of these additional
responsibilities Such extension shall not be unreasonably denied by the Company.

In no event shall such extension exceed two (2) months after the original
noti.Ecation.

Requests for permission to perform such work or take any such job shall be made in
writing with the full details and shall be delivered to the President of the Company.
The employee shall be entitled to a response within twenty-four (24) hours after
receipt by either of the listed management or their personal secretary, where the job
in question is a one-time opportunity to do a commercial, tape or film narration, and
to a response within two (2) weeks after receipt by either of the listed management
or their personal secretary for any other type of work.

SECTION 17. NAME OF AGREEN[ENT
This Agreement shall be known as the SAG-.AFI'RA-SHE.RIDAN
BROADCAS'I'[NG NETWOR.KS AGREEMENT of 2016-2019, and it shall be

binding upon and inure to the bene£t of SAG-AFI'R.A and the Company, and their
respective successors and assigns.

15

[N WI'I'NESS WHEREOF, the parties hereto have signed this Agreement below, intending to be
legally bound hereby.

SAG-AFI'RA SHERID.AN BROADCASTING .NETWORKS
Ohio-Pittsburgh Local Employer

 

General Counsel

 

    

chief Bmadw¢ ofa¢¢r

15

Sideletter #1

As of November 25, 1992

SAG-AFI'RA
Ohio-Pittsburgh Local

625 Sta.nwix Street, Suite 2007
Pitt'.sburgh, PA 15222

While Sherida.n Broadcast:ing Networks (“SBN") is the majority partner in American Urban Radio
Networks (“AUR.N”), there will be no required payment of fees pursuant to Schedule Il, Paragraph
(B) for programming produced for and broadcast on AURN afEliates.

Should SBN discontinue its relationship with or become a minority shareholder in AURN, this
waiver will be rescinded

Very Truly Yours,
SHWDAI:§BR§ADCIY\TNG NETWORKS
sound R_ Dmnpon, jl\.l

General Counsel

Acccpted and Agreed:

 

 

1`.~lr

Sideletter #2

As of November 25, 1992

SAG-AFI'R.A
Ohio-Pircsburgh Loeal

625 Stanwir Srreet, Suite 2007
Pircsburgh, PA 15222

Notwithstanding the provisions of Schedule III, Paragraph 9, subparagraphs A and B (termination
and Sevemnce Pay) covering newspersons, audio journalists and producers, all covered employees
employed as of November 25, 1992 shall be entitled to four (4) weeks’ pay in lieu of notice in the

event his/her employment is terminated by the Company, absent cause described in Subparagraph
A.

In addition, all covered employees employed as of November 25, 1992 shall be entitled to severance

pay on the basis of two (2) weeks’ salary for each year of employment, with a maximum of twenty-
six (26) weeks.

Very Truly Yours,
SHHAI\;RU[NG NE'I'WOR.KS
Ronald R. Davenport, _]r.li

General Counsel

Accepted and Agrced:

 

 

Executive Director

13

Sideletter #3

March 30, 2007

SAG-AFI'RA
ohisPicebm-gh Locd

625 Stanwix Sueec, Suite 2007
Piasbmgh, PA 15222

 

The parties agree that the Employer may use broadcast programming maneu`al, live or
recorded, on the Employer’s Intemet Web Sites; may offer such mateiial to others; and may assign
bargaining unit employees to perform services for the Employer’s Intemet Web Sites without
payment of additional compensadon. Such services and material shall include, but not be limited to,
blogs and podcasts. In addition, the Employer may use visual images of bargaining unit employees
engaging in the aforementioned services or providing the aforementioned macen'al regardless of
whether such services or material are using in broadcast programming

The Employer agrees that all announcers and performers hired by the Employer to provide
Intemet broadcast services produced by the Employer shall be subject to the provisions of this
collective bargaining agreement

If an artist, for their own convenience decides to do an approved amount of Intemet work

off premises, such time is compensable butwi]l not be subject to the minimum eal], rest period or
scheduling provisions of the Agreement Such work is at the anist discretion and shall not be

assigned by the company.
Sincady,l ; [ p-

Ro R.. Davenport, ]r.

Accepted and Agreed:

 

 

Execudv Director

15

Sideletter #4

As of February 1, 2007

SAG-AFI‘RA
Ohio-Pitlsburgh Local

625 Smnwi.x Sn:eet, Suite 2007
Pinsburgh, PA 15222

Du.\ing negotiations of the 2013-2016 SAG~AFI'R.A-SHERIDAN BROADCASTING
NETWORKS AGREEMENT, the Company and SAG-.AFI'RA agreed to the following language:

“SAG-.AFI'R.A will permit the use of audio ioumalists and producers to conduct telephone
interviews with newsmakers, such interviews to include “voicers” and ‘\vraps”.

It is further understood that any “voicer” or ‘%vrap” by an audio journalist or producer may
be used within a regular SBN newscast and/ or Company owned web platform delivered by
an SBN newspecson covered by the SAG-.AFI`RA/SBN collective bargaining agreement

Payment for such work shall be a minimum of $10 per “voicer” and $ 40 per "wrap” based
on usage, and paid monthly.

In addition, SBN shall maintain a log of all such material including title of interview, date,
and name of audio iournalist, and shall make such log available to SAG-AFTRA upon
request.”

Very Truly Yours,

    

Ronald R. Davenport,
General Counsel

 

 

25

Sideletter #5

As of November 25, 1992

sAG.AFrRA

ohio-Pimburgh Locni

625 sums saw _ ssa 2001
messach PA 15222

The Company hereby agrees that it will use its best efforts to notify the Union anytime that an SBN
_ployee is hired into the bargaining unit under an overscale individual employment conn:act, where
such overscale payments are to be credited towards payment for out-of-category work pursuant to
Schedule II, Section I.B. The Company will provide the Union a copy of an ovetsrale individual
employment contract upon request

Very Truly Yours,

Ronald R. ljavenport, ]r.ll
Gcneral Counsel

Accepted and Agreed:

 

 

Execut`cve Director

21

Appendix A

s_U_B_sTANg§ ABL;§E PQLICY
A~ MMLD

As part of the 2003 bargaining discussions, SAG»AFI'RA and SBN reached an agreement on
the following drug testing policy:

1. Substance abuse poses a seiious threat to employees, coworkers and the Company.
We have a duty to ourselves, our families, our clients and customers and our listening public to do
everything we can to eliminate the use of illegal substances and the abuse of legal substances, both
by action and by example The Company and SAG~AH'R.A have therefore agreed to this Substance

Abuse Policy. It is agreed that both parties intend this policy to be preventative before being
punitive

B- MIMQE

1. Any employee who engages in the creation, manufacture, distribution, dispensing,
possession or use of an illegal substance, whether on or off Company premises, is subject to
disciplinary action up to and including immediate termination

2. Any employee convicted of any criminal drug statute violation during the employee’s
employment with the Company will be terminated

 

l. Any employee who engages in the illegal distribution, dispensing, possession or use
of an otherwise legal substance or the abuse of such a substance while on Company premises or
during working time is subject to disciplinary action, up to and including immediate termination
Some examples including using someone else’s prescription drugs, snifEng glue or giving your
prescription drugs to another person for their use.

D. sI s AND BE ER IN N 1=
M_QM

1. Except where ptior express approval has been gimnted by the Company, any
employee who has a blood level of 0.07% or greater or who engages in the possession, disti:ihut:ion,
dispensing or use of alcohol on Company premises, or while performing work for the Company, is
subject to disciplinary action up to and including immediate termination Where use of alcohol on
Company premises or while performing work for the Company off the Company’s premises (such
as clubs, concerts, etc.) has been approved by the Company in advance of such use, employees are
nonetheless prohibited from having a blood alcohol level that equals or exceeds 0.07%.

22

E. IESIMLEAEIBBAIMENI£BQ_GB.M

1. All new employees may be tested, either prior to or immediately after beginning
work for the Company, for the use of illegal substances and the abuse of legal substances.

2. All current employees, and those hired thereafter, both management and non-

managementl are also subject to testing for the use of illegal substances and abuse of legal
substances and the use of alcohol

3. If management at any time has a reasonable suspicion that an employee is or may
have been using an illegal substance, illegally using legal substances or is using or possessing alcohol
in violation of this policy, it may require him/her to submit to testing.

The Company’s reasonable suspicion must he based on speci|ic, objective facts and
reasonable inferences drawn from these facts. Examples include, but are not limited to, observation

of substance abuse and/ or the physical symptoms of being under the influence of any prohibited

substance in a pattern of abnormal conduct or erratic behavior or reports of such conduct or
behavior

4. In the event that an employee tests positive, the employee must immediately enter
and successfully complete a treau:uent program through the AIPADA employee assistance program

(“E.AP"), which is part of the AFI'RA Heelth and Retirement plan, subject to the following
conditions:

'I'he Company is made aware of the treatment proginm.

¢ The employee authorizes the treatment facility to provide progress and end of treatment
reports to the Company.

0 The treatment facility provides such reports to the Company.

The employee successfully completes the short-term treatment progiam, as determined
and certi&ed by the treatment facility.

0 The employee shares with the Company the specifics of his/ her long-term treatment
program

The employee stick with his/ her long-term treatment program, and provides appropriate
reports of his/her adherence to the progi:am.

l For a period of not more than twenty-four (24) months after an employee’s return to
work, the employee submits to testing as required by the Company. Du.ting the twenty-
four (24) month pei:iod, the Company may require no more than six (6) times
that an employee submit to testing where the Company does not have a reason to
believe that the employee is or may have been impaired

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0 The employee does not re-engage in substance abuse. There will be no second chances.

5. An employee may opt to forego being tested and immediately enter the above
EAP treatment program However, this option is available only to employees who, while working
for the Company, have not previously tested positive or previously entered an E.AP treennent
program for substance abuse.

6. The Union has expressed its concern that the Company could use testing in bad faith
for harassment purposes or that it could order testing to occur based on information that is not
reliable For the sole purpose of addressing these concerns, the Company agrees to the following
safeguards After testing has occurred, the Union may make a written request that the Company
provide the Union with the information that caused the Company to suspect that the employee who
was tested was under the influence of a prohibited substance If the Company’s suspicion is
conErmed by the personal observations of a Company manager, the Company will be required to
provide the Union with only information regarding the manager’s observations l'.f the Company’s
suspicions are not condoned by a manager’s personal observations, upon a written request by the
Unioa, the Company will provide the Union with a summary of the information upon which the
Company based its suspicion The Company agrees that it will not rely on information submitted to
the Company anonymously unless such information is verified by personal observations or by some
other reasonably reliable veii.Ecation. 'I'his paragraph shall no apply in the event that an employee
opts to enter an EAP treatment progmm instead of being msted. Nothing in this paragraph shall be

construed to in any way limit the Company’s ability to discipline or terminate an employee under
this Policy.

F- m§.C_TPI.M

l. An employee who tests positive and successfully completes an EAP treatment
program or an employee who foregoes being tested and successfully completes an EAP treatment
program shall not be subject to discipline based upon the employee’s agreement to enter a treannent
program and/ or the employee’s suspected abuse prior to entering the program. An employee will
be terminated upon a second occurrence of testing positive or otherwise violating this Policy or
upon testing positive or otherwise violating this Policy at any time after completing a treatment
progtam, and will not be entitled to receive severance benefits under the contract

2. This Policy shall not be construed as limiting in any way the Company’s light to
discipline or terminate an employee for violating any Company work rule. Being under the influence
of a prohibited substance shall not be an excuse for a work rule violation.

3. An employee shall not be permitted to refuse the Company’s instructions to be
tested, delay testing or fail to immediately enter a treatment program because the employee or Union
disputes the Company’s reasonable suspicion determination Any employee or applicant

Who refuses to submit to testing for whatever reason, or who dials to take the test as scheduled or
directed by the Company, or who fails to immediately enter into an EAP treatment program
pursuant to this Policy, will be considered to have voluntaiily terminated his/ her employment or
withdrawn his/her application for employment, effective immediately.

24

4. Disciplinary action taken under the Substance Abuse Policy is subject to the
arbitration procedure subject to the following conditions:

a. In the event that an employee is tenninated under the Suhsta.nce Abuse
Policy, the only issue that will be subject to the arbitnition procedure will be whether the

employee is entitled to severance benefits pursuant to Schedule III, Section 9 of the
Contcact

b. In the event that an employee receives discipline other than teoninat:ion,
under the Substance Abuse Policy, the only issue that will be subject to the arbitration will be
whether die Company’s decision to impose the discipline is the result of the Company’s
disregard of mateiial provision of the Policy. 'I'his provision shall not be interpreted as
requiiing that the Company must have “just cause” for using discipline under the Policy.

c. The Substance Abuse Policy shall not be interpreted as restn'cting in any way

the Company’s right to discipline or muninate an employee for reasons that are not related
to violations of the Policy.

G. WEDENIIALDI

1. The facility chosen to conduct substance abuse tests for the Company has been
carefully selected to insure the accuracy of testing and the confidentiality of results. Testing will be
conducted by certi.Eed personnel and a laboratory accredited by the National Institute on Drug
Abuse. Employees will be asked to list the use of any legal substances which may affect the
employee’s test, such as the legal use of prescription drugs. If the first test shows a positive result
indicating substance abuse, a second test will be conducted on the same sample Only if both tests
show a positive result will that result be reported to the employee and to the Company. The
Medical Review OEEcet for the facility may determine that there is a legitimate explanation for a
positive test result, and the test shall be reported as a negative test result.

2. The testing facility will maintain records pertaining to the employee’s testin the
strictest of coniidentia.lity, and will discuss the employee’s test results only with the employee and/ or
designated Company representatives The testing facility and/ or Company will discuss with or
disclose to a representative of the Union an employee’s test results only after the employee has
executed an appropriate authorization

3. The Company will keep employees’ test results confidential, treating them the same
as other medical records and disseminating that information only on a need-to-know basis, pursuant
to government inquiry or court order or as otherwise may be required by law.

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I'I- WLIIQ

1. For the purpose of this Substance Abuse Policy, whether an employee has “used" a

legal or illegal substance and whether the employee has a ‘T)ositive” testing result shall be
determined as follows:

a. Testi.ug reveals the presence of alcohol, an illegal drug or a drug metabolite in
an employee’s system, at levels equal to or greater than the levels specified below for the

 

 

 

 

 

 

 

 

 

 

 

conErm.ation tests
Initial Test Coo£rmation Test
Levels Levels
alcohol 0.07% 0.07% *
marijuana metabolite 50 ng/ ml 15 og/ ml **
cocaine metabolite(s] 300 ng/ml 150 ng/ ml ***
morphine and/ or codeine 300 ng/ ml 300 ng/ ml
phnncynlidine (Pcl>) 25 ng/ml 25_ng7ml
(and/ or metabolites)
amphetamine and/ or 1000 ng/ml 500 ng/ ml
methamphetamine
oxazepam and/ or other 300 ng/ ml 300 ng/ ml
benzodia.zepine or mccabolite
barbiturates 300 ng/ ml 200 ng/ml ****
methadone and/nn mnnbnn¢¢ 300 ngr/ml 300 ng/ml

 

 

 

 

* percent blood alcohol level
** delta-9-tetrahydrocannabinol-9-carboxylic acid

*** benzoylecgonine, ecgonine methyl estct, and/ or ecgonine

**** amobarbital, butabarbital, butalbital, pentobarbital and/ or secobarbital

b. Where an employee has been given permission by the Company in advance
to use alcohol on Company premises or while performing work for the Company off the
Company’s premises, “use" or a “posit'cve” test result for alcohol shall mean that
confirmation testing reveals the presence of alcohol that is equal to or greater than 0.07%.

2. At an interview conducted by a manger or supervisor of the Company and in the
presence of a SAG~AFI'R.A representative the employee will be given an opportunity to explain and
substantiate his/ her proper use of legal drugs (prescription or over the counter) or alcohol which
may have resulted in a positive test result or no provide any evidence that may exist to confirm that
the positive test was not the result of use of illegal drugs.

I. S OFV TI K V`E

1. Employees may use paid sick leave and vacation while participating in an EAP
treatment program pursumt to this Policy.

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1. Employees will not be subject to the testing provisions of this Subsmnce Abuse
Policy until three (3) calendar months after the Policy has been implemented

11

EXHIBIT 2

VOLUNTARY LABOR ARBITRATION

*************************************#*****

FMCS CASE NO. 17-54919

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SHERIDAN BROADCASTING NETWORKS *
*

-AND- *

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SCREEN ACTORS GUILD-AMERICAN FEDERATION*
OF TELEVISION and RADIO ARTISTS

*************#*****#*****$**#**#*********¢*********

GRIEVANCE(S) ALLEGING SIX (6) VIOLATIONS OF THE PARTIES’

2016 TO 2019 COLLECTIVE BARGAINING AGREEMENT AS SET FORTH
HER.EINAFI`ER

AWARD OF ARBITRATION

DENNlS E. MINNI, ESQ., NAA
ARBITRATORIMEDIATOR
13500 PEARL RD.
SUITE 139 NO. 104
STRONGSVILLE, OH 44136

Issues Presented:

(1) The Company has failed to give bargaining unit employees employed as of
August 29, 2017, notice of the termination of their employment as required under Schedule
III, Section 10 of the CBA and has further failed to give said employees pay in lieu of notice
as required under Schedule Ill, Section 10 of the CBA.

(2) The Company has failed to pay severance pay to bargaining unit employees
employed as of August 29, 2017, which severance pay as (sic) required (sic) Schedule III,
Section 10 of the CBA.

(3) The Company failed to timely implement the November 8, 2016 three per cent
(3%) increase in wages required under Schedule II, Section Z(a) of the CBA, and has failed
to make employees whole for its untimely implementation.

(4) The Company has failed to pay bargaining unit employees for time worked and
worked (sic) performed prior to SBN’s shutdown on August 29, 2017.

(5) The Company has failed to pay bargaining unit employees for out-of-pocket
expenses incurred in the performance of their assigned duties.

(6) The Company has failed to remit to SAG-AFI`RA dues that it has deducted
from bargaining unit employees‘ paychecks.

(FuR'rnER)

(7) SAG-AFTRA reserves the right to raise additional claims as they may come to
light.

V

Date Ol' Hearing: November 20, 2017
Situs Of Hearing: 625 Stanwix St., Pittsburgh, PA 15222
Employer Representatives And Witnesses:

1. Ronald Davenport, Jr., Esq.,...........................Sheridan Broadcasting Networks Attorney

Union Representatives And Witnosses:

l. Brian l..ysell, Esq , QAG-AFTRA Legal Counsel

 

§ACK§RQUN'D INFORMATI_QN

This matter came on for hearing on November 20, 2017 in Pittsburgh, PA at the oflices of
the Union formally the Screen Actors Guild-American Federation of Television & Radio Artists
(AFL-CIO) hereaiier “SAG-AFTRA” or the “Union” before the undersigned

Said Union represents a bargaining unit of employees of the Employer, Sheridan
Broadcasting Networks, hereafter “SBN”, the “Employer or the “Company”.

Said employees, whether full-time, part-time or temporary are represented by SAG-
AFTRA and are consolidated into a bargaining unit in the greater Pittsburgh, PA area based as of
the date of this hearing at 960 Penn Avenue 3"' F|oor in Pittsburgh.

Said Union is the voluntarily recognized or NLRB certified representative for purposes of
collective bargaining between the Employer and the Union.

Said parties SAG-A.FTRA and SBN are signatories to a labor agreement (*‘CBA”) entered

into the record as Joint Exhibit l (“JX-l"). This CBA‘s duration is ti'orn November 8, 2016 to
November 7, 2019.

The parties stipulated that the grievance was properly in arbitration and ripe for final and
binding determination in accordance with their CBA. Further, the undersigned notes that Section
I l of the CBA provides the following limitation on the authority of selected neutrals:

“The arbitrator shall only have the authority to interpret compliance with the provisions
of this Agreernent, and shall not have authority to add to, subtract from or alter in any way the
provisions of this Agreement. The decision of the arbitrator on any issue properly before him/her

shall be final and binding upon the Company, the Union and the employee or employees

involved. The cost ot` arbitration, including the salary and expense incident to the services of the
arbitrator, shall be shared equally by both parties."

There were no specific joint or party exhibits adduced to record at the hearing but the
parties did enter into stipulations offset along with four (4) exhibits (“A”-“D") which are
incorporated by reference hereto with coopies appended to this award.

Surnmari|y, the pre-hearing submitted exhibits are:

“A”: a copy of the 2016-2019 CBA noted supra,'

"B ”: a list of bargaining unit members (Cohill; Cook; Griftin; Harris; James; Johnson; Jones;

_3.

Lampkins; Miller; Smith & Starkey), their respective hire dates, individual claims for pay in lieu
of written notice, individual claims for severance pay and each listed employee has a common
termination date listed, to wit: “August 31, 2017";

“C”: a list of the same bargaining unit members from Ex. B and claims in various amounts for
back-pay in the amount of 3% due from November 8, 2016; wage or salary claims for the pay
period August 16, 2017 to August 31, 2017 and back-pay for alleged unpaid l“wraps”' and/or
“voicers" for six (6) of the eleven (l l) employees listed;
“D": a computation of the aggregate amount of claims contained in Exhibits B and C plus a
$9,088.39 claim for employee April Ryan for clothing allowance & mileage/expenses incurred
in her course of employment plus a claim by SAG-AFTRA for $2293.09 for the alleged non-
remittance of union dues withheld from bargaining unit members’ paychecks.

As for the noted stipulations, they are tifty-one (51) in number and primarily attest to the

accuracy of the information set forth in Exhibits B, C, and D. In addition, other stipulated

matters attest to the validity of the CBA, the authority of the undersigned and that this grievance
is arbitrable both substantively and procedurally.

No additional joint or party exhibits were adduced by the parties nor was a recorded
transcript of the hearing taken. Post-hearing briefings were timely filed by both parties as agreed.

The respective major positions of the parties to this dispute are as set forth hereinaiier.

PO ITI N F UNI N:

The seminal point of this dispute occurred with the Employer’s unilateral decision to

cease or otherwise suspend its broadcast operations in the Pittsburgh, PA marketplace as of
August 31, 2016.

The stated claims for the enumerated employees and SAG-AFTR.A’s dues remittance are

accurate and documented as presented herein. As such, they form the basis for this grievance(s),
have merit and should be granted as prayed for.

Further, the Union has continued to discharge its collective bargaining responsibilities
and has provided representation for its members at all times pertinent herein.

POSITIQE QF THE §MPLQYER:

The Employer, in its brief, maintains that there is no contention with the Union’s position

.4.

on either employee back-pay, fringe benth claims or the Union’s claim for non-remitted
withheld dues. SBN’s concluding statement states:

“The Company stipulates to its liability for the amounts referenced above as
contained in Joint Exhibit l and exhibits thereto”

l) SI N ANALYSI :

The CBA’s pledge that the arbitrator's decision shall be final and binding is duly noted
Having had the opportunity to appear, present and cross-examine witnesses and issue a post-
hearing brief it is clear and convincing that SBN, through its legal counse|, understands its
position and the applicability of the mutual stipulations it entered into.

Ther'efore, said fifty-one (51) stipulated facts and the submitted brief amount to the
Employer’s demurrer to the Union’s claims and representations. As such, the Union’s claims,

being in essence not controverted, have merit and shall be awarded by virtue of sustaining this
grievance(s).

ln addition, the Employer briefed that it did not withhold union dues for Ms. Caitlyn
Starkey, bit did so for the other ten (10) bargaining unit members. However, 1 do not know if
Ms. Starkey paid her dues directly, attempted to tender her dues or otherwise authorize
withholding or refused to pay or have them submitted to SAG-A.FTRA. Remedially, if this

failure to withhold was wilful on SBN’s part the Union’s claim for Ms. Starkey’s non-withheld
dues shall be added to this award.

AWAR_IQ OF AB§!:!:BATION:

Based upon the foregoing and the record as a whole, the grievance(s) islare hereby
granted as prayed for. The Union has met its burden of proof and shown by a preponderance of
the evidence that it is entitled to the relief sought and thus shall prevail in this award of
arbitration as allowed by and through the terms of the parties’ CBA.

I shall retainjurisdiction over this matter for ninety (90) days ii'om the date of this award
for the sole purpose of assisting the parties with implementation or supplemental administration
if either party makes written request to the undersigned

Resp cttiilly submitted, this 2":' day of February, 2018 at Strongsville, OH
r’ owe /’ ,//z/m¢/-'

dennis E. Minni, NAA

Arbitrator-Mediator

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EXHIBIT A

In the matter of FMCS Casc No. 170918-54919 ("Gcievance"), Sl\et'.idan Broadcastlng Netwot:lts (“SBN")
and SAG-AFI'R.A hereby stipulate to the following facts:

‘l.

10.

ll.

The attached ExbibitA is true copy of the 2016-2019 Colleetive Bargaini.ng Agreement between
SAG-AFTRA and SBN (“CBA").

SBN is bound by the CBA.
SAG-AFI'RA is bound by the CBA.

SAG-AFTRA has Eled the Gcievance in a timely manner pursuant Schedule I, Section 11 of the
CBA.

Arbitmtoc Dennis E. Mi.nni has jurisdiction over each speeiEcation contained in the Grievance.

The attached Exlu'bit B accurately states the employees employed by SBN as of the last date ofits
operation ("Tet:minated Employees").

ExhibitB accurately states the dam of hire l~`oc Tct:minated Employeu.
Exl'tibit B accurately states the dates of termination for Terminated Employees.

Schedule I.U, Section 10(a) of the CBA obligates SBN to give written notice to Terminated
Employees of the teoni.nation of their employmeng or pay in lieu tltereof.

On August 29, 2017, SBN verbally notiEecl Tecminated Employeu that their unployrnent would be
terminated as ofAugust 31, 201?.

SBN terminated the employment ofTetmittated Employees on August 31, 2017.

12. SBN did not give Tenninated Employees written notice of the termination of their employment

13.

14.

15.

16.

17.

SBN did not give Tetminatcd Bmployces any pay in lieu of written notice ol" termination of their
employmmt.

The amounts of pay in lieu of written notice of terminsu`on set forth in Exhibit B ate accurate

SBN owes Tem'tinated Employees the amounts of pay i.n lieu of written notice of termination set
Forth in Bxhibit B.

Schedule III, Section 10(|:) of the CBA obligates SBN to give terminated employees sevennce pay,
up m a maximum of twenty-six (26) weeks of severance pay.

None of the Tenninate.d Employces' employment was terminated for any reason that would
disqualify any of them for sevuance pay under Schedule I.[l, Section 10{|)).

18. SBN has not paid Tecminated Employees any severance pay.

19. The amount ofsevetance pay owed to each Tcrminated Employer as set forth in Exlu'bit B is
accurate

20. SBN owes Term.inated Employees severance pay in the amounts set forth in E.xhibit B.

21. The CBA obligam SBN to give all bargaining unit employees a three-percent (3%) increase in their
actual salaries on November 8 of each year of the CBA.

22 The CBA obligated SBN to implement the E.rst three~percent (3%) increase in actual salaries under
the CBA on November B, 2016.

23. Terrninated Employers were all employed in bargaining unit positions on November 8, 2016.

24. SBN did not implement the three-percent (3%) increase in Tenninsted Employees' actual salaries on
November B, 2016.

25. SBN first implemented the three-percent (3%) increase in Tet:minated Employees’ actual salaries on
February l, 2017.

26. The amount of retroactive pay owed to each Term.inated Employee because of SBN's failure to
timely implement the November B, 2016 increase, as set forth in the attached Exhibit C, is acmme.

27. Because of SBN's failure to timely implement the November 8, 2016 increase, SBN owes 'I'e.rminated

Employecs retroactive pay for the period November B, 2016, through january 31, 2017 in the
amounts set forth in Exht'bit C.

28. When SBN terminated the employment of Tenninated Employeu, it failed to pay full-time
Teccninated Employers their salaries for the period August 16, 2017, through August 31, 2017.

29. When SBN terminated the unployment of Tecmi.nated Employees, it failed to pay part-time
Term.inated Employeu theirwages for the period August 16, 2017, through August 31, 2017.

30. The amount of retroactive pay owed to each Term.inated Employer on account of SBN's failure to
pay salaries or wages due to them, as set forth in Exhibit C, is accurate

31. Because of SBN's failure to pay salaries or wages due toTerminated Employees, SBN owes

Tet:minated Employees retroactive pay for the period August 16, 2017, through August 31, 2017, in
the amounts set forth in Exhibit C.

32. Sldeletter #4 to the CBA obligates SBN to pay employees for wraps and voicers used within a regular
SBN newscast or on a Company-owned web platform.

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41.

When SBN terminated the employment of Terminated Employees, it failed to pay certain
'I'erminated Employees fees for wraps and/ or voicers that were produced and used within a regular

SBN newscast or on a Company-owned web platform during the period Augusr l, 2017, through
August 31, 2017.

The amount of retroactive pay owed to each Terminated Employee for wraps and/or voicers that
were produced and used within a regular SBN newscast or on a Company-owned web platform
during the period August 1, 2017, through August 31, 2017, as set forth in Exhibit C, is accurate.

Because of SBN's failure to pay certain Terminated Employees for wraps and/ or voicers that were
produced and used within a regular SBN newscast or on a Company-owned web platform during the
period li'tugust ‘l, 2017, through August 31, 2017, SBN owes Terminated Employees retroactive pay
for said wraps and/ or voicers in the amounts set forth in Eahibit C.

Schedule lI[, Section 3 of the CBA requires SBN to reimburse bargaining unit employees for
expenses incurred in die performance of their assigned duties.

Schedule U.I, Section 3 of the CBA also requires SBN to pay bargaining unit employees' mileage for
use of their personal vehicle outside of the locality for business purposes.

April Ryan was a bargaining unit employee of SBN until her resignation on October 28, 2016.

On june ZB, 2016, April Ryan submitted receipts for reimbursement for expenses incurred in the
performance of her assigned duties during the period Deeember l, 2015, though june 28, 2016.

. On]une ZB, 2016, SBN received receipts for reimbursement for expenses April Ryan incurred in the

performance of her assigned duties during the period Decunber 1, 2015, though june 28, 2016.

SBN has not reimbursed Apxil Ryan for expenses she incurred in the performance of her assigned
duties during the period Deeember 1, 2015, though ]une 28, 2016.

42. SBN owes April R.yan $1,588.39 in unreimbursed mileage and expenses

43.

45.

47.

Pursuant to Apn'l Ryan contract with SBN, SBN was to provide April Ryan with a $7,500 clothing
allowance

. SBN did not pay April Ryan her $7,500 clothing allowance prior to her resignation in 2016.

SBN owes April Ryan $7,500 in clothing allowance

. Schedule I, Section 3 of the CBA allows for bargaining unit employees to authorize SBN to withhold

union dues &om their paychecks and remit said dues to SAG-AF.['R.A.

Certain bargaining unit employees authorized SBN to withhold union dues from their paychecks and
remit said dues to S.AG-AFL`R.A.

4B. SBN withheld union dues from the paychecks of certain bargaining unit employees.

49. SBN failed to remit to SAG-AFTR.A urtion dues that SBN withheld from the paychecks of certain
bargaining employees.

50. SBN has failed to remit $2,293.|]9 in union dues to S.AG-AFI'R.A.

51. The total amounts SBN owes to bargaining unit employees or SAG-A.FI'RA pursuant to each
specification of the Gricvanee arc accurately set forth in the attached Exhibit D.

amy

    

`Bn'an Lysell Ron Davenport, ]r.
Executive Diree r President

Ohio-Pittaburgh Local Sherida.n Broadoasting Networks
S.AG-AFI'RA

EXHIBIT B

 

 

 

 

 

 

 

 

 

 

 

 

 

P.ay.in Ll'eu
of Written
Date of Notz'ce of Sev'eranee
F.£rsr La.sr Dare oth’re Tenninat!on Temt£natz'on Pay
Victoria Cohill G/ 23/ 2008 8/31/2017 $4,089.10 $18,400.95
adm cook dias/2003 8/31/2017 $3,094.30 szo,n?.os
Patn'cia GrifEn 4/1/2013 8/31/2017 $3,001.27 3228.26
Desaundra Hana°s 3/26/2001 8/31/2017 $2,592.46 116,850.99
jazzmonde james 3/17/2014 8/31/2017 $l,132.38 $950.63
All¢gm hanson 2/5/2001 8131/2017 $2,333.93 $15,110.31
Trevin jones 1/22/200‘7 8/31/2017 $3,6|]4.96 38,555.50
tom tempting 111/2002 wsi/2011 $`s,sot.a4 337,111.96
'I'y Miller 719/1990 8/31/201‘7 $7,295.84 $47,422.96
Danielle Smith 2/1/2010 8/31/2011 $2,264.77 $4,993.72
Caitlyn Starltey 2/16/2016 8/31/2017 $1,132.38 $286.33

 

 

 

 

 

 

 

EXHIBIT C

 

 

 

 

 

 

 

 

 

 

 

 

 

jack Pay.fiu'
failure repay
Bac!r Pay for W,g“ orally
'&"::nm;;:::!y during tbeperiod Baclr Psyfor
Nove£bu_ 33 2016 dugan 16, 2017, figure ropay.for
m&,pmm, through August maps and/or
Hrsr Lasr (J%) increase 311 2917 waivers
Victoria Cohi|l 5416.85 12,044.55
Brian Cook 5315.49 $1,547.15 $B0.00
Patricia Griflin 5137.66
Desaund.ra Harris 8203.94 $1,296.23 $1,120.00
]azzmonde james 384.69 $B49.00
Allegra johnson $203.94 51,166.99 $670.00
Trevin jones 3181.34 $1,698.48 340.00
Kim Lampltins $507.00 $2,900.92
Ty Miller 5547.19 $3,674.92
Danielle Smith 3129.79 $764.10 $190.00
Caitlyn Starltey $707.50 $BD.OO

 

 

 

 

 

 

EXHIBIT D

 

 

 

 

 

 

 

 

Specr'£cadon Amounr Owed
Failure to pay Terminated Employees in lieu of giving written notice of their

. dow $36,343.29
Failure to pay Terminated Employees severance pay. 3170,685.12
Failure to timer implement November 8, 2016 three-percent (3%) increase $2,012.38
Failure to pay Terrninated Employees for time worked during the period
August 16, 2017, through August 31, 2017, and for wraps and voicers 318,829.84
produced during the period August `l, 2017, through August 31, 2017.
Failure to pay April Ryan for clo ' g allowance and mileage and expenses 59 use 39
incurred in the course of her employment ' '
Failure to remit to SAG-AFTRA union dues withheld from bargaining unit $2 293 09
employees paychecks. ' ’

 

 

 

